FUNCTION =   CHANGE
          Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 1 of 12 PageID #: CASE
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     Case number : 18-C-36                                       Action Log
           pum, NATIPNAT4 ,BAND OF WTIALIAM vs. ST PA,V14 WRcV.RT ;NSVRANcg. ,COMP,
Line    Date                      Action / Results
   1 04/05/18 SUMMONS-CIVIL CASE-PETITION FILED AND SENT TO SOS FOR SERVICE;
   2 04/05/18 SOS ACCEPTED SERVICE FILED;




                                                STATE OF WEST VIRGINIA
                                                COUNTY OF MINGO,
                                                I, LONNIE HANNAH,CLERK OF CIRCUIT COURT OF SAID COUNTY
                                                AND IN SAID STATE, DO HEREBY CERTIFYTHATTHE FOREGOING
                                                IS A TRUE COPY FROM THE RECORDS OF SAID COURT,
                                                GIVEN UNDER MY HAND AND SEAL° SAN COURT THIS t
                                                DAY OF


                                                C Ret,1T COURT   MINGO OUNTY, WESTVIRGINI




                                                                              EXHIBIT A
FUNCTION = CHANGE                                                                  SCREEN 4
         Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 2 of 12 PageID #:CASE
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    Case number : 18-C-36                                      Action Log
                 NATIPNAIA ,BANK O,F WIWAM vs. ST, RAMA MXRCV.RY, INSVRANcg, COMP,
Line   Date                    Action / Results
   1 04/05/18 SUMMONS-CIVIL CASE-PETITION FILED AND SENT TO SOS FOR SERVICE;
   2 04/05/18 SOS ACCEPTED SERVICE FILED;




C=Chg   D=De1   1-4=Scr   M=Menu    T=Chg Line#    PgUp PgDn P=Prt A=Add I=Image




                                                  STATE OF WEST VIRGINIA
                                                  COUNTY OF MINGO,
                                                  I, LONNIE HANNAH,CLERK OF CIRCUIT COURT OF SAID COUNTY
                                                  AND IN SAID STATE, DO HEREBY CERTIFYTHAT THE FOREGOING
                                                  IS A TRUE COPY FROM THE RECORDS OF SAID COURT,
                                                  GIVEN UNDER MY,AND SEAL SAD COURT THIS...a-
                                                  DAY OF      J
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                                                                                                  CLERK
                                                        TCOUR    F MINGO OUNTY, WESTVIRGINI
      Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 3 of 12 PageID #: 7


Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305




                                                                                                     Mac Warner
                                                                                                   Secretaty cigRate
                                                                                                 Si'Ate ofWestVirginia
                                                                                               Phonist 38U-5581-8000
                                                                                                         888-767+8683
                                                                                                    Nisr_iss online:
Grant Preece                                                                                        rvw.vivs09;com
Mingo County Courthouse
78 EAST 2ND AVE., ROOM 232
Williamson, WV 25661-0435




    Control Number: 216574                                                     Agent: Corporation Service Company
             Defendant: ST. PAUL MERCURY INSURANCE                           County: Mingo
                        COMPANY
                        209 West Washington Street                      Civil Action: 18-C-36
                        Charleston, WV 25302 US                   Certified Number: 92148901125134100002293601
                                                                       Service Date: 4/9/2018

I am enclosing:

        summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process in the name and on behalf of your authorized insurance company.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in the name and on behalf of your authorized insurance company as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to the
Secretary of State's office.



Sincerely,


2  4,e_
, 2/              If
                                                         STATE OF WEST VIRGINIA
                                                         COUNTY OF MINGO,
                                                         I, LONNIE HANNAH,CLERK OF CIRCUIT COURT OF SAID COUNTY
                                                         AND IN SAID STATE, DO HEREBY CERTIFY THAI THE FOREGOING
Mac Warner                                               IS A TRUE COPY FROM THE RECORDS OF SAID COURT,
Secretary of State                                       GIVEN UNDER MY HAND AND SEAL0 SAID COURT THIS
                                                         DAY OF

                                                                                                          CLERK
                                                               T COUR •F MINGO OUNTY, WESTVI—R-IA
      Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 4 of 12 PageID #: 8




                                                         SUMMONS

     FIRST NATIONAL BANK OF WILLIAMSON,
     a chartered U.S. national bank,

                                Plaintiff,


     V.                                                            CIVIL ACTION: 18-C- 34


     ST. PAUL MERCURY INSURANCE COMPANY,
     a Connecticut insurance company,

                                Defendant,


     Serve:                     Corporation Service Company
                                209 West Washington Street
                                Charleston, West Virginia 25302


              IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned

     and required to serve upon CHRISTIAN R. HARRIS, Plaintiffs attorney whose address is

     P. O.BOX 257. WILLIAMSON,WEST VIRGINIA 25661, an answer including any related

     counterclaim you may have to the Complaint filed against you in the above styled Civil

     Action, a true copy of which is herewith delivered to you. You are required to serve your

     answer within THIRTY (30) DAYS after service of this Summons upon you, exclusive of

     the day of service, If you fail to do so, Judgment by Default will be taken against you for

     the relief demanded in the Complaint and you will be thereafter barred from asserting in

     another action any claim you may have which may be asserted by counterclaim in the

     above styled Civil Action.

     Dated: COA I OS/ asitS

STATE OF WEST VIRGINIA                                             Clerk of Court
COUNTY OF MINGO,
I, LONNIE HANNAH,CLERK OF CIRCUIT COURT OF SAID COUNTY
AND IN SAID STATE, DO HEREBY CERTIFYTHAT THE FOREGOING
IS A TRUE COPY FROM THE RECORDS OF SAID COURT,
GIVEN UNDER Y HAND AND SEAL OF SAID COURT THIS J,' .-
DAY OF                  /8
                                                CLERK
C    IT COUR OF MINGO COUNTY, WESTVIRGIN
        Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 5 of 12 PageID #: 9



      IN THE CIRCUIT COURT OF                         MINGO                   COUNTY,WEST VIRGINIA

                              CIVIL CASE INFORMATION STATEMENT
                              (Civil Cases Other than Domestic Relations)
I. CASE STYLE:                                                    Case No.               1 417 • C.• 3
Plaintiff(s)                                                      Judge:
                                                                                                               )a.
FIRST NATIONAL BANK OF WILLIAMSON
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                                                                                                         "13   --1
                                                                                                               -H

vs.                                                                                                      CJ1
                                                        Days to
Defendant(s)                                            Answer        Type of Service
ST. PAUL MERCURY INSURANCE COMPANY                         30         Certified Mail                     1.0
Name                                                                                                     N
                                                                                                         co
385 WASHINGTON STREET
Street Address
ST.PAUL. MINNESOTA 55102-1396
City, State, Zip Code

II. TYPE OF CASE:
  [..?: General Civil                                                        El Adoption
  El Mass Litigation[As defined in T.C.R. 26.04(a)]                          D Administrative Agency Appeal
        0 Asbestos                                                           E1 Civil Appeal from Magistrate Court
        ❑ FELA Asbestos                                                      0 Miscellaneous Civil Petition
        0Other:                                                              ❑ Mental Hygiene
  0 Habeas Corpus/Other Extraordinary Writ                                   El Guardianship
  D Other:                                                                   D Medical Malpractice

Ill JURY DEMAND: E•l Yes El No CASE WILL BE READY FOR TRIAL BY (Month/Year).                             05 / 2019

IV. DO YOU OR ANY               IF YES,PLEASE SPECIFY:
    OF YOUR CLIENTS             ❑ Wheelchair accessible hearing room and other facilites
    OR WITNESSES                El Reader or other auxiliary aid for the visually impaired
    IN THIS CASE                El Interpreter or other auxiliary aid for the deaf and hard of hearing
    REQUIRE SPECIAL             ❑ Spokesperson or other auxiliary aid for the speech impaired
    ACCOMMODATIONS?
                                ❑ Foreign language interpreter-specify language:
      0Yes V. No                ❑ Other:

Attorney Name: CHRISTIAN R. HARRIS                                     Representing:
Firm: LAW OFFICE OF CHRISTIAN R. HARRIS                                F
                                                                       lel Plaintiff         0Defendant
Address: 128 EAST 2ND AVENUE                                          0 Cross-Defendant El Cross-Complainant
Telephone: (304)235-2131                                               ❑ 3rd-Party Plaintiff ❑ 3rd-Party Defendant
❑ Proceeding Without an Attorney

Original and       copies ofcomplaint enclosed/attached.

Dated: OS/ / OS— / /40                   Signature:
SCA-C-100: Civil Case Information Statement(Other than Domestic Relations)                    Revision Date: 12/2015
Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 6 of 12 PageID #: 10



      LAW OFFICE OF CHRISTIAN R. HARRIS                                     ('
      Christian R. Harris(WV SBN 7170)
  2 1 128 East 2" Avenue
      Williamson, West Virginia 25661
  3 Telephone:(304)235-2131
      Facsimile: (304)235-2132                                  :
                                                                7::: ,..,),
  4                                                                  ,...,
      Counsel for Plaintiff                                       r,.    7,
                                                                          "
  5 First National Bank of Williamson
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  6                                                                c.,         ,--. ,

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  8                      IN THE CIRCUIT COURT OF MINGO COUNTY, co ."-)
                                                                   -.3
 9                                    WEST VIRGINIA
 10                                THIRTIETH JUDICIAL CIRCUIT
 11
 12 FIRST NATIONAL BANK OF                       Case No.
    WILLIAMSON, a chartered U.S.
 13 national bank,                               FIRST NATIONAL BANK OF
                                                 WILLIAMSON'S COMPLAINT
 14                   Plaintiff,                 FOR BREACH OF CONTRACT
 15              v.                              DEMAND FOR JURY TRIAL
 16 ST.PAUL MERCURY INSURANCE
    COMPANY,a Connecticut insurance
 17 company,
 18                   Defendant.
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                                                                First National Bank of Williamson's
                                                                   Complaint for Breach of Contract

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Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 7 of 12 PageID #: 11



  1              Plaintiff First National Bank of Williamson("FNB")complains and alleges as
  2 follows:
  3                                JURISDICTION AND VENUE
  4              1.    This action is an insurance coverage litigation arising out of Defendant
  5 St. Paul's refusal to indemnify FNB against a settlement of claims asserted against
  6 FNB and certain insured directors and officers of FNB by the United States of
  7 America, acting through the United States Attorney's Office for the Southern
  8 District of West Virginia(the "USAO Investigation"). This is a Complaint for
 9 damages arising from Defendant St. Paul's refusal and denial of benefits due under a
 10 policy of insurance issued to FNB.
 11              2.   This Court has jurisdiction over this case and over Defendant pursuant
 12 to the provisions of W. Va. Code § 56-3-33, in that Defendant transacted business in
 13 this state, including contracting to insure FNB. The matter in controversy exceeds
 14 the sum or value of$75,000, exclusive of interest and costs.
15               3.     Venue is appropriate in Mingo County, West Virginia pursuant to the
 16 provisions of W. Va. Code § 56-1-1, as the acts and practices of Defendant St. Paul
17 at issue herein occurred in and caused damages in the City of Williamson, West
18 Virginia. Specifically, Defendant St. Paul issued policies of insurance to FNB, a
19 resident of Williamson. The underlying settlement for which Defendant St. Paul
20 wrongfully denied coverage was entered into and performed in Mingo County.
21 Moreover, Defendant St. Paul's performance under the insurance policy at issue is
22 due in Mingo County.
23                                            PARTIES
24               4.   FNB is, and at all times herein mentioned was, a national bank
25 chartered by the United States Office ofthe Comptroller ofthe Currency, with its
26 principal place of business in West Virginia.
27               5.   FNB is informed and believes, and based thereupon alleges, that
28 Defendant St. Paul Mercury Insurance Company("St. Paul") is, and at all times
                                                                          First National Bank of Williamson's
                                                                             Complaint for Breach of Contract

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Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 8 of 12 PageID #: 12



  1 herein mentioned was, a Connecticut corporation with its principal place of business
  2 in Minnesota, and was authorized to do business in West Virginia.
  3                                FACTUAL BACKGROUND
  4              6.   In exchange for valuable consideration, Defendant St. Paul provided
  5 policies of insurance to FNB,including without limitation, Management Liability
  6 and Bankers Professional Liability insurance under written insurance policy ZPL-
  7 14S21877-12-N2(effective July 24,2012 to July 24, 2013)(the "2012-2013 St. Paul
  8 Policy").
  9              7.   At all times herein mentioned, FNB paid all premiums on the 2012-
 10 2013 St. Paul Policy as they became due and payable, and has duly complied with
 1 1 all material conditions in all such policies, except for those conditions which have
 12 been waived or excused by Defendant St. Paul.
 13              8.   The 2012-2013 St. Paul Policy insures FNB against, among other
 14 things,"Loss for which the[FNB] becomes legally obligated to pay on account of
 15 I any Claim first made against the Company during the Policy Period." The 2012-
 16 2013 St. Paul Policy also provides that St. Paul has the duty to defend FNB and
 17 other insureds against any Claim covered by the policy. The 2012-2013 St. Paul
 18 Policy further provides that FNB's directors and officers are insureds under the
 19 policy. The Management Liability and Bankers Professional Liability coverage
20 sections ofthe 2012-2013 St. Paul Policy each provide $2 million of coverage,
21 subject to a $40,000 self-insured retention ("SIR").
22               9.   The 2012-2013 St. Paul Policy defines "Loss" to mean "the amount
23 which the Insureds become legally obligated to pay on account of each Claim and
24 for all Claims made against them during the Policy Period...for Wrongful Acts for
25 i which coverage applies, including Damages,judgments, settlements and Defense
26 Costs." The 2012-2013 St. Paul Policy further provides that "Loss" does not
27 include "taxes, or fines or penalties imposed by law..."
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                                                                        First National Bank of Williamson's
                                                                           Complaint for Breach of Contract

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  1              10.   In or around March 2013,the USAO provided FNB with a letter
  2 identifying FNB as a target of a grand jury investigation. FNB provided timely
  3 notice of such grand jury investigation to Defendant St. Paul.
  4              11.   Thereafter, on September 6, 2016,the USAO requested tolling
  5 agreements from FNB and certain of its directors and officers (the "targeted
  6 individuals") in connection with the grand jury investigation. FNB likewise
  7 provided timely notice of this Claim to Defendant St. Paul.
  8              12.   By letter dated October 7, 2016, Defendant St. Paul accepted a duty to
 9 defend FNB and the targeted individuals against the USAO Investigation, subject to
 10 a reservation of rights.
 11              13.   In or around February 2017, FNB,the targeted individuals and
 12 Defendant St. Paul entered into a settlement agreement relating to certain defense
 13 costs incurred by FNB prior to September 6,2016(the "Past Defense Costs
 14 Settlement"). The parties to the Past Defense Costs Settlement did not release any
 15 claims or defenses regarding any settlement or other indemnity costs relating to the
 16 USAO Investigation.
 17              14.   On or about February 1, 2017, Defendant St. Paul authorized FNB and
 18 the targeted individuals to enter into a settlement ofthe USAO Investigation,
 19 without admission of liability, fault or wrongdoing (the "USAO Settlement"), which
20 settlement required, inter alia, FNB to make a $1.36 million settlement payment on
21 behalf ofitself and the targeted individuals to the United States Marshals Service.
22 However, Defendant St. Paul refused to indemnify against that settlement payment,
23 contending that the payment was not covered "Loss" under the 2012-2013 St. Paul
24 Policy, but was instead an excluded "fine or penalty."

25               15.   On or about November 27, 2017, Defendant St. Paul reaffirmed its
26 denial ofcoverage for the $1.36 million settlement payment, again asserting that it
27 was a "fine or penalty," and therefore not covered under the 2012-2013 St. Paul
28 Policy. FNB contends that the $1.36 million settlement payment was a payment
                                                                          First National Bank of Williamson's
                                                                             Complaint for Breach of Contract

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Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 10 of 12 PageID #: 14



   1 made pursuant to the USAO Settlement in compromise of certain claims against
  2 FNB and the targeted individuals, and was neither a fine, nor a penalty.
  3             16.   Despite having promised to pay all such settlement costs, Defendant St.
  4 Paul has wrongfully delayed, denied and refused, and continues to wrongfully delay,
  5 deny and refuse, to pay the $1.36 million settlement payment ofthe USAO
  6 Investigation. Consequently,FNB has been forced to incur or pay such settlement
  7 out of its own pocket without reimbursement from Defendant St. Paul.
  8                                FIRST CLAIM FOR RELIEF
  9                    (Breach of Contract — Failure To Pay Covered Loss)
 10             1.    FNB realleges and incorporates by this reference each ofthe foregoing
 1 1 Paragraphs of this Complaint as if fully set forth herein.
 12        2.    Defendant St. Paul has breached its contractual obligations            under the
 13 2012-2013 St. Paul Policy issued to FNB,including Defendant St. Paul's duty to
 14 I pay covered Loss incurred by FNB and the targeted individuals in
                                                                       connection with
 15 the USAO Investigation, by, among other things, denying coverage for, delaying,
 16 I refusing and failing to pay the S1.36 million settlement payment.
 17             3.    As a direct and proximate result of Defendant St. Paul's breach of
 18 contract as alleged herein, FNB has been required to incur, agree to pay or pay the
 19 $1.36 million settlement payment without reimbursement. FNB has thereby been
 20 damaged in an amount to be determined at trial, which damages include, without
 21 limitation, FNB's unreimbursed $1.36 million settlement payment, together with
22 1 interest thereon.
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                                                                         First National Bank of Williamson's
                                                                            Complaint for Breach of Contract

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Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 11 of 12 PageID #: 15




  1                                     PRAYER FOR RELIEF
  2                WHEREFORE,FNB prays for judgment against Defendant St. Paul, as
  3 follows:
  4                1.   For compensatory damages, including all ofFNB's unreimbursed $1.36
  5 million settlement payment incurred in connection with the USAO Investigation and
  6 any other benefits due under the 2012-2013 St. Paul Policy;
  7                2.   For foreseeable consequential damages, in an amount to be proven at
  8 trial;
  9                3.   For interest as allowed by law;
 10                4.   For FNB's attorneys' fees and costs of suit in this action; and
 11 1              5.   For such other and further relief as the Court may deem just and proper.
 12 Dated: April 6, 2018                                  Respectfully submitted,
 13
                                                          LAW OFFICE OF CHRISTIAN R.
 14                                                       HARRIS
 15
 16
                                                     By.                     alci4
 17                                                       Christian R. Harris
                                                          Counsel for Plaintiff
 18                                                       First National Bank of Williamson
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                                                                             First National Bank of Williamson's
                                                                                Complaint for Breach of Contract

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Case 2:18-cv-00900 Document 1-1 Filed 05/08/18 Page 12 of 12 PageID #: 16



  1 i                                JURY TRIAL DEMAND
  2              1.   First National Bank of Williamson hereby demands trial by jury as
  3 provided by Rule 38 ofthe West Virginia Rules of Civil Procedure.
  4 Dated: April 6,2018                               Respectfully submitted,
  5
                                                           OFFICE OF CHRISTIAN R.
  6                                                   LHAAWRIS
                                                         R
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  8
                                                 By:
  9                                                 Christian R. Harris
                                                    Counsel for Plaintiff
 10                                                 First National Bank of Williamson
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                                                                        First National Bank of Williamson's
                                                                           Complaint for Breach of Contract

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